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MIE 800 Generic Notice of Hearing (Rev. 3/98)



                                                UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF MICHIGAN
                                                     SOUTHERN DIVISION


          SUBHIEH JEBRIL,
                                                                     CASE NUMBER: 05-70840
                                        Petitioner,
                                                                     HONORABLE GERALD E. ROSEN
          v.

          UNITED STATES OF AMERICA,

                                        Respondent.
                                                           /


                                                          NOTICE OF:
                                                      STATUS CONFERNECE

                    You are hereby notified to appear before the Honorable Gerald E. Rosen, United States
          District Judge for the above proceeding on:



                                 DATE                            TIME                   ROOM 730

                                                                               Theodore Levin U.S. Courthouse
                  MONDAY, JULY 14, 2008                        10:00 A.M.
                                                                                     231 W. Lafayette
                                                                                  Detroit, Michigan 48226




                                                      CERTIFICATE OF MAILING



          I hereby certify that a copy of the foregoing document was served upon counsel of record on June 19,
          2008, by electronic and/or ordinary mail.

                                                                   s/LaShawn R. Saulsberry
                                                                   Case Manager
                                                                   313-234-5137
